Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 1 of 22




                     EXHIBIT H
      Coalition Plaintiffs’ Requests for Complete Files
           Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 2 of 22


From:            Bryan Tyson
To:              Robert McGuire; Cross, David D.; Brogan, Eileen M.; Ascarrunz, Veronica; Hedgecock, Lyle F.; Conaway, Jenna B.;
                 cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan
                 Crumly; Dal Burton; Marilyn Marks; Diane LaRoss; Bryan Jacoutot; Loree Anne Paradise; Halsey G. Knapp, Jr.; Adam M. Sparks;
                 Kaiser, Mary; Manoso, Robert W.; Josh Belinfante; Melanie Johnson; Javier Pico-Prats; Rashmi Ahuja; Drina Miller
Cc:              Bruce Brown; Cary Ichter; Jill Connors
Subject:         Re: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)
Date:            Wednesday, August 4, 2021 10:48:27 AM


Robert,

Your speculations in this email are not accurate. If you want to talk, we are happy to do so if you will
provide us some times. If you would rather not speak by phone, that's fine as well.

Thanks,

Bryan



Bryan Tyson
Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
P: 678.336.7249 | btyson@taylorenglish.com
www.taylorenglish.com

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From: Robert McGuire <ram@lawram.com>
Sent: Wednesday, August 4, 2021 1:44:55 PM
To: Bryan Tyson; Cross, David D.; Brogan, Eileen M.; Ascarrunz, Veronica; Hedgecock, Lyle F.; Conaway, Jenna B.;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly; Dal Burton; Marilyn Marks; Diane LaRoss; Bryan Jacoutot; Loree
Anne Paradise; Halsey G. Knapp, Jr.; Adam M. Sparks; Kaiser, Mary; Manoso, Robert W.; Josh Belinfante; Melanie
Johnson; Javier Pico-Prats; Rashmi Ahuja; Drina Miller
Cc: Bruce Brown; Cary Ichter; Jill Connors
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan,

I am surprised you are unwilling to simply tell me your client’s position on (1) whether
county compliance with Election Bulletins is optional and (2) whether or not your clients will
object to us obtaining election project files directly from counties via subpoena (as you’ve told
us to do).

What conferral is necessary? We are simply asking for your client’s position on two
questions. Do you anticipate those positions, whatever they are, may change when we confer
with you? Or are you just reluctant to state a position in writing?

Thanks.
        Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 3 of 22



Best,
Robert McGuire

Robert A. McGuire, III                                                    *** NOTE NEW CONTACT DETAILS BELOW ***
Shareholder | the Robert McGuire Law Firm
1624 Market St Ste 226 #86685, Denver, CO 80202-2523 | 113 Cherry St #86685, Seattle, WA 98104-2205
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From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Wednesday, August 4, 2021 10:37 AM
To: Robert McGuire <ram@lawram.com>; Cross, David D. <DCross@mofo.com>; Brogan, Eileen M.
<EBrogan@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Marilyn Marks <Marilyn@USCGG.org>;
Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier
Pico-Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Cc: Bruce Brown <bbrown@brucepbrownlaw.com>; Cary Ichter <CIchter@IchterDavis.com>; Jill Connors
<jconnors@ichterdavis.com>
Subject: Re: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Robert,

We'll be happy to talk by phone. Given that there's already a meet and confer in the works, that seems like
the best way to handle things at this point.

Thanks,

Bryan


Bryan Tyson
Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
P: 678.336.7249 | btyson@taylorenglish.com
www.taylorenglish.com

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From: Robert McGuire <ram@lawram.com>
        Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 4 of 22


Sent: Wednesday, August 4, 2021 1:33:36 PM
To: Bryan Tyson; Cross, David D.; Brogan, Eileen M.; Ascarrunz, Veronica; Hedgecock, Lyle F.; Conaway, Jenna B.;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly; Dal Burton; Marilyn Marks; Diane LaRoss; Bryan Jacoutot; Loree
Anne Paradise; Halsey G. Knapp, Jr.; Adam M. Sparks; Kaiser, Mary; Manoso, Robert W.; Josh Belinfante; Melanie
Johnson; Javier Pico-Prats; Rashmi Ahuja; Drina Miller
Cc: Bruce Brown; Cary Ichter; Jill Connors
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan, having your response to my two inquiries by email will render a conferral and
motions practice potentially unnecessary. That would be more efficient for you and us alike.
Can you please respond?

Thank you.

Best,
Robert McGuire

Robert A. McGuire, III                                                    *** NOTE NEW CONTACT DETAILS BELOW ***
Shareholder | the Robert McGuire Law Firm
1624 Market St Ste 226 #86685, Denver, CO 80202-2523 | 113 Cherry St #86685, Seattle, WA 98104-2205
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Sent: Wednesday, August 4, 2021 10:31 AM
To: Robert McGuire <ram@lawram.com>; Cross, David D. <DCross@mofo.com>; Brogan, Eileen M.
<EBrogan@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Marilyn Marks <Marilyn@USCGG.org>;
Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier
Pico-Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Cc: Bruce Brown <bbrown@brucepbrownlaw.com>; Cary Ichter <CIchter@IchterDavis.com>; Jill Connors
<jconnors@ichterdavis.com>
Subject: Re: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Rob,

I've been in depositions the past few days and will be through the end of this week.

Our position on OEBs and the State Defendants' relationship to the counties has been clear throughout this
case. I don't see any benefit in continuing to discuss the scope of that relationship via email. If you want to
meet and confer on the topic of county election packages, let us know some times that would work.

Thanks,

Bryan
        Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 5 of 22




Bryan Tyson
Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
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From: Robert McGuire <ram@lawram.com>
Sent: Wednesday, August 4, 2021 1:08:57 PM
To: Bryan Tyson; Cross, David D.; Brogan, Eileen M.; Ascarrunz, Veronica; Hedgecock, Lyle F.; Conaway, Jenna B.;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly; Dal Burton; Marilyn Marks; Diane LaRoss; Bryan Jacoutot; Loree
Anne Paradise; Halsey G. Knapp, Jr.; Adam M. Sparks; Kaiser, Mary; Manoso, Robert W.; Josh Belinfante; Melanie
Johnson; Javier Pico-Prats; Rashmi Ahuja; Drina Miller
Cc: Bruce Brown; Cary Ichter; Jill Connors
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan, will you please respond to my inquiries below?

Thank you.

Best,
Robert McGuire

Robert A. McGuire, III                                                    *** NOTE NEW CONTACT DETAILS BELOW ***
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From: Robert McGuire
Sent: Tuesday, August 3, 2021 10:01 AM
To: Bryan Tyson <btyson@taylorenglish.com>; Cross, David D. <DCross@mofo.com>; Brogan, Eileen M.
<EBrogan@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Marilyn Marks <Marilyn@USCGG.org>;
Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier
Pico-Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
          Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 6 of 22


<dmiller@taylorenglish.com>
Cc: Bruce Brown <bbrown@brucepbrownlaw.com>; Cary Ichter <CIchter@IchterDavis.com>; Jill Connors
<jconnors@ichterdavis.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan,

To ensure we understand your position, you are saying that the Election Project files are not
in the State’s possession, custody, or control because the State’s position that Election
Bulletins issued to the counties (which require the Election Project files to be transmitted to
the State) are not mandatory for the counties to follow, but are only suggestions that the
counties may follow or not follow, as they see fit? Is that correct? If not, what part is not
correct?

In light of your suggestion below that we obtain these records directly from the counties
instead of obtaining them from the State, will the State waive any objection to the counties’
production of these items pursuant to a subpoena from us for the direct production of those
records?

Please confirm. Thank you.

Best,
Robert McGuire

Robert A. McGuire, III                                                    *** NOTE NEW CONTACT DETAILS BELOW ***
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From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Monday, August 2, 2021 6:43 AM
To: Robert McGuire <ram@lawram.com>; Cross, David D. <DCross@mofo.com>; Brogan, Eileen M.
<EBrogan@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Marilyn Marks <Marilyn@USCGG.org>;
Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
<sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier
Pico-Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Cc: Bruce Brown <bbrown@brucepbrownlaw.com>; Cary Ichter <CIchter@IchterDavis.com>; Jill Connors
<jconnors@ichterdavis.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Robert,

As you note in your email, we have consistently explained that our clients will only have what counties send to
them. We disagree that an Election Bulletin, which is simply guidance to counties, creates any sort of obligation on
          Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 7 of 22


our clients if counties fail to follow the steps they recommend. Further, given our frequent and clear
communication about what our clients do and do not have, we are surprised that you have not utilized the
mechanisms available to you in discovery to request the files directly from the counties. If these files are as critical
to your experts’ analysis as you indicate, we’re at a loss to understand why you ignored this clear communication
for so long.

We have complied with our discovery obligations by producing what is in our client’s possession. We do not have a
further obligation to go obtain Election Project Packages from counties, especially when you are free to seek this
information from each county directly.

Thanks,

Bryan



                Bryan P. Tyson
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From: Robert McGuire <ram@lawram.com>
Sent: Friday, July 30, 2021 9:20 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Cross, David D. <DCross@mofo.com>; Brogan, Eileen M.
<EBrogan@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
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Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks
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Belinfante <Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier
Pico-Prats <javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Cc: Bruce Brown <bbrown@brucepbrownlaw.com>; Cary Ichter <CIchter@IchterDavis.com>; Jill Connors
<jconnors@ichterdavis.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan,

This is to follow up on your email conversation of June 11 below, which volves the issue I
raised in the last call with the Court about discovery documents that the Coalition Plaintiffs
are still awaiting.
        Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 8 of 22


Please ask your client to provide the requested Election Project files for those counties that
did not send complete files. Our experts need access to the full Election Project files and it is
our understanding based on the attached Election Bulletin that the Secretary required these
files to be transmitted to his office after the November election as is the routine requirement.
Given that requirement, it is the State’s obligation to produce these files without Plaintiffs
being required to subpoena the information from each county.

Many of the counties had no images at all on the external drive sent to Dr. Halderman. Our
experts received the drive from him. Many lacked the election project packages. It will soon
hinder the work of our experts if the files are not provided. We ask that your client obtain
and produce the full Election Packages promptly. They are an essential element of our
experts’ discovery work.

We ask that you prioritize the following counties and files:
Fulton—Recount Election Package
Fulton- Images from Nov. 3 In-Person voting ballots for original count
DeKalb—Election Projects Nov 3 and Recount
Gwinnet—Election Projects Nov 3 and Recount
Ware- Election Project Nov 3 and Recount
Muscogee-Election Project Nov 3 and Recount
Lowndes—Election Project Nov 3 and Recount
Bibb—Election Project Nov 3 and Recount

After these are received, we can determine whether additional counties are required
although we reserve the right to request that you produce the full Election Project packages
from all counties. Please ensure that the in-person ballot image files from the November 3
original count are included in the packages.

Please let us know if you have any questions. Thanks and have a good weekend.

Best,
Robert McGuire

Robert A. McGuire, III                                                    *** NOTE NEW CONTACT DETAILS BELOW ***
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From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Friday, June 11, 2021 3:58 PM
To: Cross, David D. <DCross@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
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<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
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Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
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<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
          Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 9 of 22


<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

David,

The hard drive is on the way to Dr. Halderman for Saturday delivery, using this Fedex Tracking Number:
773980467545. Fedex indicates that the ZIP Code is for Jamison PA, which matches what Fedex had when we
entered that address and the label is attached.

A couple of notes about what’s on the drive:

     1. The drive contains 564GB of files in total.
     2. It is organized with a folder for November 2020 and another for January 2021, then each of those folders is
        organized by what was received from each county.
     3. As we’ve said before, we only have what the counties sent us. For most counties, that’s the Project Package.
        For others, it’s some combination of Excel sheets, ballot images, or other files. We have included whatever
        the counties sent after the election.
     4. Counties whose databases were not located in the box for the respective elections (SOS is still looking to see
        if they are anywhere else):
             a. Atkinson County (November and January)
             b. Coffee County (November and January)
              c. Fulton County (November and January)
             d. Irwin County (November)
             e. DeKalb County (January)
              f. Dooly County (January)
             g. Taylor County (November)
     5. It’s possible that some counties added additional passwords to various files. If that is the case and/or if Dr.
        Halderman has any trouble accessing any of the files, we will get you whatever passwords are needed to
        access those files.

Thanks, and have a good weekend,

Bryan



                   Bryan P. Tyson
                   Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                   P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                   Website | vCard | LinkedIn | Twitter

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by this communication. Most legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise
so expressly stated.

From: Cross, David D. <DCross@mofo.com>
Sent: Friday, June 11, 2021 7:57 AM
To: Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 10 of 22


adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton
<dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>;
Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan -

Please ship the database files to Dr. Halderman at 3080 Wilkinson Road, Rushland, PA 18929.

Thanks.
DC




From: Bryan Tyson <btyson@taylorenglish.com>
Date: Thursday, Jun 10, 2021, 8:12 PM
To: Cross, David D. <DCross@mofo.com>, Brogan, Eileen M. <EBrogan@mofo.com>, Ascarrunz, Veronica
<VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B. <JConaway@mofo.com>,
cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, vrusso@robbinsfirm.com
<vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>, adenton@robbinsfirm.com
<adenton@robbinsfirm.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>,
Diane LaRoss <dlaross@taylorenglish.com>, Bryan Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise
<lparadise@taylorenglish.com>, Bruce Brown <bbrown@brucepbrownlaw.com>, Rob McGuire <ram@lawram.com>, Cary
Ichter <CIchter@IchterDavis.com>, Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks
<sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>, Manoso, Robert W. <RManoso@mofo.com>, Josh
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<javier.picoprats@robbinsfirm.com>, Rashmi Ahuja <rahuja@taylorenglish.com>, Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

External Email


David,

I was traveling most of the day today and will get an update for you once I can talk with folks at the office
tomorrow. The search terms yielded more than 300,000 emails, most of which came from a single entry, and we
are queuing up our review process on those. We have also been going through the slow process of downloading
the election databases. We can produce to you tomorrow whatever databases we already have downloaded on an
external drive to Halsey’s office (or can overnight where you would prefer) and get the remaining ones as quickly
as we can get them off the USB drives after that.

Thanks,

Bryan
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 11 of 22



                   Bryan P. Tyson
                   Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                   P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                   Website | vCard | LinkedIn | Twitter


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by this communication. Most legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise
so expressly stated.

From: Cross, David D. <DCross@mofo.com>
Sent: Thursday, June 10, 2021 2:29 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton
<dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>;
Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan -

When do you expect to start rolling your production?

We had understood that you were going to get back to us on the other issues addressed in our last
correspondence. Do we understand that correctly, and if so, when can we expect that?

Thanks.
DC



From: Bryan Tyson <btyson@taylorenglish.com>
Date: Monday, Jun 07, 2021, 2:13 PM
To: Cross, David D. <DCross@mofo.com>, Brogan, Eileen M. <EBrogan@mofo.com>, Ascarrunz, Veronica
<VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B. <JConaway@mofo.com>,
cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>, vrusso@robbinsfirm.com
<vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>, adenton@robbinsfirm.com
<adenton@robbinsfirm.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Dal Burton <dburton@taylorenglish.com>,
Diane LaRoss <dlaross@taylorenglish.com>, Bryan Jacoutot <bjacoutot@taylorenglish.com>, Loree Anne Paradise
<lparadise@taylorenglish.com>, Bruce Brown <bbrown@brucepbrownlaw.com>, Rob McGuire <ram@lawram.com>, Cary
Ichter <CIchter@IchterDavis.com>, Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks
<sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>, Manoso, Robert W. <RManoso@mofo.com>, Josh
Belinfante <Josh.Belinfante@robbinsfirm.com>, Melanie Johnson <melanie.johnson@robbinsfirm.com>, Javier Pico-Prats
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 12 of 22


<javier.picoprats@robbinsfirm.com>, Rashmi Ahuja <rahuja@taylorenglish.com>, Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

External Email


David,

Yes. We will be producing whatever was sent back to us from the counties for the November 2020 and January
2021 elections. Those are supposed to be project packages (EMS databases) and we are in the process of
downloading them from the individual USB drives the state received.

Thanks,

Bryan



                   Bryan P. Tyson
                   Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                   P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                   Website | vCard | LinkedIn | Twitter


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you received. If you have not executed an engagement letter with this firm, we do not represent you as your attorney and no duties are intended or created
by this communication. Most legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise
so expressly stated.

From: Cross, David D. <DCross@mofo.com>
Sent: Monday, June 7, 2021 1:12 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton
<dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
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<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan –

Can you please confirm that these Project Packages (EMS databases) will be produced for both the
October/November 2020 elections and the January 2021 Senate runoff election?

Thanks,
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 13 of 22


DC

DAVID D. CROSS
CHAIR OF ANTITRUST LITIGATION PRACTICE
Partner | Morrison & Foerster LLP
2100 L Street, NW, Suite 900 | Washington, DC 20037
P: +1 (202) 887-8795
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From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Friday, June 4, 2021 2:55 PM
To: Cross, David D. <DCross@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton
<dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>;
Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

External Email


David,

I’ve confirmed that the format we receive from the counties is the Project Package. The projects are sizable files
(for example, Fulton’s is over 30GB) and are stored on individual jump drives. We expect to be able to have them
to you by early next week and will keep you posted if that changes as they are copied from the jump drives. Of
course, we will also provide you with whatever else is needed to access the files.

Thanks,

Bryan



                   Bryan P. Tyson
                   Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                   P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                   Website | vCard | LinkedIn | Twitter


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you received. If you have not executed an engagement letter with this firm, we do not represent you as your attorney and no duties are intended or created
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so expressly stated.
      Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 14 of 22


From: Cross, David D. <DCross@mofo.com>
Sent: Friday, June 4, 2021 11:58 AM
To: Bryan Tyson <btyson@taylorenglish.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton
<dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
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<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>;
Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan -

On 2 below, we understand that the natural way to export this data from the Dominion EMS is as
something called a Project Package. If that's the native format you have in GA, we'd prefer it over JSON.
We also understand that the password protection used on Project Packages is easily bypassed. If the state or
counties, or anyone else, have applied any additional layers of encryption or password protection, beyond
what the Dominion software does by itself, we would need those passwords or the decrypted files.

Thanks.
DC


From: Cross, David D. <DCross@mofo.com>
Date: Friday, Jun 04, 2021, 9:59 AM
To: Bryan Tyson <btyson@taylorenglish.com>, Brogan, Eileen M. <EBrogan@mofo.com>, Ascarrunz, Veronica
<VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B.
<JConaway@mofo.com>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>,
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adenton@robbinsfirm.com <adenton@robbinsfirm.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Dal Burton
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G. Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks <sparks@khlawfirm.com>, Kaiser, Mary
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<javier.picoprats@robbinsfirm.com>, Rashmi Ahuja <rahuja@taylorenglish.com>, Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Checking with Dr. Halderman on 2 to confirm.

Can you also please confirm you’ll produce documents in the format we requested, including with the
requested metadata, going forward, per Rule 34?


From: Bryan Tyson <btyson@taylorenglish.com>
Date: Friday, Jun 04, 2021, 9:48 AM
To: Brogan, Eileen M. <EBrogan@mofo.com>, Cross, David D. <DCross@mofo.com>, Ascarrunz, Veronica
<VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B.
<JConaway@mofo.com>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>,
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 15 of 22


vrusso@robbinsfirm.com <vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>,
adenton@robbinsfirm.com <adenton@robbinsfirm.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Dal Burton
<dburton@taylorenglish.com>, Diane LaRoss <dlaross@taylorenglish.com>, Bryan Jacoutot
<bjacoutot@taylorenglish.com>, Loree Anne Paradise <lparadise@taylorenglish.com>, Bruce Brown
<bbrown@brucepbrownlaw.com>, Rob McGuire <ram@lawram.com>, Cary Ichter <CIchter@IchterDavis.com>, Halsey
G. Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks <sparks@khlawfirm.com>, Kaiser, Mary
<MKaiser@mofo.com>, Manoso, Robert W. <RManoso@mofo.com>, Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>, Melanie Johnson <melanie.johnson@robbinsfirm.com>, Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>, Rashmi Ahuja <rahuja@taylorenglish.com>, Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

External Email


Good morning,

I had one update and a request related to this letter.

     1.       The expanded search terms in this letter are acceptable and we will begin running those against the
             extended list of custodians immediately to begin a rolling production of documents as quickly as we can.
     2.       David mentioned in the conference with Judge Totenberg on Wednesday that you wanted the election
             databases in the same format received from the counties and not in a JSON format. If you can confirm that
             is correct, we will be able to produce what we have from the counties by early next week at the latest.

Thanks,

Bryan



                   Bryan P. Tyson
                   Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                   P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                   Website | vCard | LinkedIn | Twitter


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so expressly stated.

From: Brogan, Eileen M. <EBrogan@mofo.com>
Sent: Tuesday, June 1, 2021 12:04 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Cross, David D. <DCross@mofo.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; Dal Burton
<dburton@taylorenglish.com>; Diane LaRoss <dlaross@taylorenglish.com>; Bryan Jacoutot
<bjacoutot@taylorenglish.com>; Loree Anne Paradise <lparadise@taylorenglish.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>;
Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico-Prats
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 16 of 22


<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Counsel,

Please see the attached correspondence. Hope everyone had an enjoyable Memorial Day weekend.

Best,
Eileen

EILEEN BROGAN
Associate | Morrison & Foerster LLP
2100 L Street, NW, Suite 900 | Washington, DC 20037
P: +1 (202) 887-1520
mofo.com | LinkedIn | Twitter


From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Friday, May 21, 2021 6:48 PM
To: Cross, David D. <DCross@mofo.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss
<dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Bruce Brown <bbrown@brucepbrownlaw.com>; Rob McGuire
<ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>;
Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W.
<RManoso@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

External Email


David,

The search terms were originally utilized in Fair Fight Action v. Raffensperger, Case No. 1:18-cv-05391-SCJ. A copy
of the amended complaint with all opposing counsel listed is attached. We have not conducted any separate
testing of these terms against a sample, but similar terms yielded 8,825 responsive documents in Fair Fight Action
and we will also plan to review the documents captured by the terms for responsiveness.

Secretary of State employees store all documents on a central shared server, so we will separately search that
server for responsive documents, as we have in other election cases.

The list of custodians came from your letter to us, removing the individuals who are not employees of the
Secretary of State’s office. We do not believe there are additional individuals who would have responsive
documents but will obviously comply with our obligations under the Federal Rules if we discover others during the
search process.

We look forward to receiving answers to the other issues in the letter.
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 17 of 22



Thanks,

Bryan



                   Bryan P. Tyson
                   Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                   P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                   Website | vCard | LinkedIn | Twitter


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by this communication. Most legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise
so expressly stated.

From: Cross, David D. <DCross@mofo.com>
Sent: Thursday, May 20, 2021 6:37 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Ascarrunz, Veronica <VAscarrunz@mofo.com>; Hedgecock, Lyle F.
<LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov;
vrusso@robbinsfirm.com; cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly
<jcrumly@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss
<dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Bruce Brown <bbrown@brucepbrownlaw.com>; Rob McGuire
<ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>; Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>;
Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W.
<RManoso@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>; Josh Belinfante
<Josh.Belinfante@robbinsfirm.com>; Melanie Johnson <melanie.johnson@robbinsfirm.com>; Javier Pico-Prats
<javier.picoprats@robbinsfirm.com>; Rashmi Ahuja <rahuja@taylorenglish.com>; Drina Miller
<dmiller@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan -

Per our prior correspondence, we need more information to assess the efficacy of the proposed search
terms, which we’re willing to consider without waiving any rights. In particular, please provide the
following by tomorrow:

- The case caption(s) and court(s) for the “prior litigation filed against the State of Georgia” for which these
terms were developed, and the individual name(s) and law firm(s) of the opposing counsel in each such
case who “accepted the terms as comprehensive”;

- Any metrics from any testing of these terms against a robust data/document sample to assess under- and
over-inclusiveness

- An explanation of whether the terms have been used for production in any other litigation and, if so, what
was produced, when, to whom, for what custodians, and in what volumes

Regarding the data/documents to be searched, please confirm that you will run any search terms against
each custodian’s files, such as Word processing and other text searchable documents stored on their
respective computers or other media, including shared sites or folders. The terms should not be run only
against their Exchange mailboxes as your letter seems to indicate, as that would be much too narrow to
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 18 of 22


comply with Rules 26 and 34.

Regarding document custodians, we need to understand how you arrived at that list and we need to know -
per Rule 26 - the names of other employees, agents, or others with responsibility regarding Georgia’s
election system who may have relevant documents within your clients’ possession, custody, or control.

We’ll be in touch regarding the other issues in your letter.

Thanks.
DC




From: Bryan Tyson <btyson@taylorenglish.com>
Date: Thursday, May 20, 2021, 5:47 PM
To: Ascarrunz, Veronica <VAscarrunz@mofo.com>, Hedgecock, Lyle F. <LHedgecock@mofo.com>, Conaway, Jenna B.
<JConaway@mofo.com>, cheryl.ringer@fultoncountyga.gov <cheryl.ringer@fultoncountyga.gov>,
vrusso@robbinsfirm.com <vrusso@robbinsfirm.com>, cmiller@robbinsfirm.com <cmiller@robbinsfirm.com>,
adenton@robbinsfirm.com <adenton@robbinsfirm.com>, Jonathan Crumly <jcrumly@taylorenglish.com>, Dal Burton
<dburton@taylorenglish.com>, Diane LaRoss <dlaross@taylorenglish.com>, Bryan Jacoutot
<bjacoutot@taylorenglish.com>, Loree Anne Paradise <lparadise@taylorenglish.com>, Cross, David D.
<DCross@mofo.com>, Bruce Brown <bbrown@brucepbrownlaw.com>, Rob McGuire <ram@lawram.com>, Cary Ichter
<CIchter@IchterDavis.com>, Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>, Adam M. Sparks
<sparks@khlawfirm.com>, Kaiser, Mary <MKaiser@mofo.com>, Manoso, Robert W. <RManoso@mofo.com>, Brogan,
Eileen M. <EBrogan@mofo.com>, Josh Belinfante <Josh.Belinfante@robbinsfirm.com>, Melanie Johnson
<melanie.johnson@robbinsfirm.com>, Javier Pico-Prats <javier.picoprats@robbinsfirm.com>, Rashmi Ahuja
<rahuja@taylorenglish.com>, Drina Miller <dmiller@taylorenglish.com>, Bryan Tyson <btyson@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

External Email


All:

Please find attached a letter summarizing proposed search terms and related to several other discovery issues in
this case. We look forward to your response.

Thanks,

Bryan



                   Bryan P. Tyson
                   Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                   P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                   Website | vCard | LinkedIn | Twitter


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by this communication. Most legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise
so expressly stated.

From: Bryan Tyson
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 19 of 22


Sent: Monday, May 17, 2021 10:12 AM
To: 'Ascarrunz, Veronica' <VAscarrunz@mofo.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway,
Jenna B. <JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com;
cmiller@robbinsfirm.com; adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; James Balli
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<lparadise@taylorenglish.com>; Cross, David D. <DCross@mofo.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>;
Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>;
Josh Belinfante <Josh.Belinfante@robbinsfirm.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Veronica,

We have already responded to those issues previously and did not respond further because they were not raised
in David’s letter outlining the “final positions” on outstanding discovery issues on May 11. To the extent you
expect a response, our previous letters fully outline our positions on these issues and we’ll be ready to fill in our
portions of joint discovery statements when and if you send those our way.

Thanks,

Bryan



                   Bryan P. Tyson
                   Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                   P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
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by this communication. Most legal rights have time limits, and this e-mail does not constitute advice on the application of limitation periods unless otherwise
so expressly stated.

From: Ascarrunz, Veronica <VAscarrunz@mofo.com>
Sent: Friday, May 14, 2021 7:55 PM
To: Bryan Tyson <btyson@taylorenglish.com>; Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B.
<JConaway@mofo.com>; cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; James Balli
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Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Kaiser, Mary
<MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>; Brogan, Eileen M. <EBrogan@mofo.com>;
Josh Belinfante <Josh.Belinfante@robbinsfirm.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Bryan,
         Case 1:17-cv-02989-AT Document 1298-1 Filed 02/01/22 Page 20 of 22


Your letter does not address the below from David’s letter to you of April 22, 2021, which we take to mean that
we understand your position correctly and so will raise these issues with the Court.

          We also understand that you will not produce (i) documents with
          appropriate metadata, (ii) Dominion EMS DVD files, (iii) any documents
          concerning Dominion, (iv) documents related to EMS databases, (v) any fully-
          configured
          EMS, (vi) any fully-configured ICC, or (vii) any BMD equipment or
          peripherals. Please let me know if that understanding is incorrect before we raise
          these issues with the Court, which we intend to do expeditiously if needed.
Best,
Veronica Ascarrunz



From: Bryan Tyson <btyson@taylorenglish.com>
Sent: Friday, May 14, 2021 5:27 PM
To: Hedgecock, Lyle F. <LHedgecock@mofo.com>; Conaway, Jenna B. <JConaway@mofo.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; James Balli
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<lparadise@taylorenglish.com>; Cross, David D. <DCross@mofo.com>; Bruce Brown
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<VAscarrunz@mofo.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>;
Brogan, Eileen M. <EBrogan@mofo.com>; Josh Belinfante <Josh.Belinfante@robbinsfirm.com>; Bryan Tyson
<btyson@taylorenglish.com>
Subject: RE: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

External Email



All:

Please find attached State Defendants’ letter responding to Mr. Cross’s letter and outlining our discovery positions
as we discussed.

Have a great weekend,

Bryan



                  Bryan P. Tyson
                  Taylor English Duma LLP | 1600 Parkwood Circle, Suite 200, Atlanta, GA 30339
                  P: 678.336.7249 | M: 404.219.3160 | btyson@taylorenglish.com
                  Website | vCard | LinkedIn | Twitter


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From: Hedgecock, Lyle F. <LHedgecock@mofo.com>
Sent: Tuesday, May 11, 2021 10:02 PM
To: Conaway, Jenna B. <JConaway@mofo.com>; Bryan Tyson <btyson@taylorenglish.com>;
cheryl.ringer@fultoncountyga.gov; vrusso@robbinsfirm.com; cmiller@robbinsfirm.com;
adenton@robbinsfirm.com; Jonathan Crumly <jcrumly@taylorenglish.com>; James Balli
<jballi@taylorenglish.com>; Dal Burton <dburton@taylorenglish.com>; Diane LaRoss
<dlaross@taylorenglish.com>; Bryan Jacoutot <bjacoutot@taylorenglish.com>; Loree Anne Paradise
<lparadise@taylorenglish.com>; Cross, David D. <DCross@mofo.com>; Bruce Brown
<bbrown@brucepbrownlaw.com>; Rob McGuire <ram@lawram.com>; Cary Ichter <CIchter@IchterDavis.com>;
Halsey G. Knapp, Jr. <hknapp@khlawfirm.com>; Adam M. Sparks <sparks@khlawfirm.com>; Ascarrunz, Veronica
<VAscarrunz@mofo.com>; Kaiser, Mary <MKaiser@mofo.com>; Manoso, Robert W. <RManoso@mofo.com>;
Brogan, Eileen M. <EBrogan@mofo.com>
Subject: Curling v. Raffensperger, No. 1:17-cv-2989-AT (N.D. Ga.)

Mr. Tyson,

Please find attached a letter from Mr. Cross concerning discovery.

Best,

LYLE HEDGECOCK
Associate | Morrison & Foerster LLP
2100 L Street, NW, Suite 900 | Washington, DC 20037
P: +1 (202) 572-6769
mofo.com | LinkedIn | Twitter



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